AO 2458 (Rev. 09/12)

  Sheet I- Judgment in a Criminal Case



                                     United States District Court
                                                          Eastern District of Missouri
                       UNITED STATES OF AMERICA
                                         v                                  JUDGMENT IN A CRIMINAL CASE
                       ANDREW MABERRY
                                                                          CASE NUMBER: 4:13CR381 CDP
                                                                                               ~~~~~~~~~~~~~




                                                                              USM Number: 40889-044
                                                                                               -~------------
  THE DEFENDANT:                                                             Nanci McCarthy
                                                                              Defendant's Attorney
         pleaded guilty to count(s)          one of the indictment on December 20, 2013.
         pleaded nolo contendere to count(s)
                                                      -------------------------------~
         which was accepted by the court.
       was found guilty on count(s)
  D    after a plea of not guilty
  The defendant is adjudicated guilty of these offenses:
                                                                                                              Date Offense   Count
 Title & Section                                  Nature of Offense                                           Concluded    Number(s)
18 U.S.C. §2113(a)                              Bank Robbery                                            July 2, 2013           One




      The defendant is sentenced as provided in pages 2 through                  8   ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.

  D     The defendant has been found not guilty on count(s)

  D      Count(s) - - - - - - - - - - - - - - -                                dismissed on the motion of the United States.

 It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence, or
 mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
 restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                               April 4, 2014
                                                                               Date of Imposition of Judgment




                                                                               Signature of Judge

                                                                                Honorable Catherine D. Perry
                                                                               United States District Judge
                                                                               Name & Title of Judge


                                                                               April 4, 2014
                                                                               Date signed

    Record No.:    177
AO 245B (Rev. 09/12)   Judgment in Criminal Case   Sheet 2 - Imprisonment

                                                                                                              Judgment-Page _2_ of       _8__
 DEFENDANT: ANDREW MABERRY
 CASE NUMBER: 4:13CR381 CDP
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 District:      Eastern District of Missouri
                                                            IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
 a total term of 60 months.




  ~      The court makes the following recommendations to the Bureau of Prisons:

  that the defendant be evaluated for participation in the Residential Drug Abuse Program and the Financial Responsibility Program if these
  are consistent with the Bureau of Prisons policies, and that the defendant be evaluated for placement in a facility either as close as possible
  to the Baltimore, Maryland area or as close as possible to the O'Fallon, Illinois area as meets Bureau of Prisons regulations and availability
  of programs.


  ~      The defendant is remanded to the custody of the United States Marshal.

  D      The defendant shall surrender to the United States Marshal for this district:

         D      at                       a.m./pm on
         D      as notified by the United States Marshal.

  D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         O      before 2 p.m. on

         D      as notified by the United States Marshal
         D      as notified by the Probation or Pretrial Services Office




                                   MARSHALS RETURN MADE ON SEPARATE PAGE
 AO 2458 (Rev. 09/12)   Judgment in Criminal Case   Sheet 3 - Supervised Release

                                                                                                                Judgment-Page   _3_     of   _8_ _
 DEFENDANT: ANDREW MABERRY
 CASE NUMBER: 4:13CR381 CDP
                        ~~~~~~~~~~~~~-




 District: Eastern District of Missouri
                                                       SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of three years.
                                                                                                                  --~------




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
      the custody of the Bureau of Prisons.
      The defendant shall not commit another federal, state, or local crime.
       The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
       controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
       periodic drug tests thereafter, as determined by the court.

       D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk
              of future substance abuse. (Check, if applicable.)
       ~      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       D      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       D      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
              seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
              resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
       D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay in
     accordance with the Schedule of Payments sheet of th is judgment

    The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
    conditions on the attached page.


                                        STANDARD CONDITIONS OF SUPERVISION
 1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4) the defendant shall support his or her dependents and meet other family responsibilities;
 5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
 acceptable reasons;
 6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
 substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
 of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
     without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
     defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
     notifications and to confirm the defendant's compliance with such notification requirement.
AO 2458 (Rev 09/12)    Judgment in Criminal Case   Sheet 3A - Supervised Release


                                                                                                             Judgment-Page   _4_     of   _8_ _
  DEFENDANT: ANDREW MABERRY
  CASE NUMBER: 4:13CR381 CDP
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 District:     Eastern District of Missouri
                                      ADDITIONAL SUPERVISED RELEASE TERMS
  While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply with
  the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall pay those
  costs based on a co-payment fee established by the probation office.
  l. The defendant shall refrain from any unlawful use of a controlled substance and submit to a drug test within 15 days of commencement
  of supervision and at least two periodic drug tests thereafter for use of a controlled substance.

  2. The defendant shall abstain from the use of alcohol and/or all other intoxicants.

  3. The defendant shall participate in a substance abuse treatment program approved by the probation office, which may include substance
  abuse testing, counseling, Residential Re-entry Center placement, residential or inpatient treatment.

  4. The defendant shall participate in a mental health evaluation and shall follow any recommendations of such and/or shall participate in a
  mental health program approved by the probation office.

  5. The defendant shall participate in a cognitive behavioral treatment program as directed by the probation office.

  6. The defendant shall participate in a vocational services program, which may include job readiness training and skills development
  training, as directed by the probation office.

  7. The defendant shall provide the probation officer and the Financial Litigation Unit (FLU) of the U.S. Attorney's Office access to any
  requested financial information. The defendant is advised that the probation office may share financial information with FLU.

  8. The defendant shall be prohibited from incurring new credit charges or opening additional lines of credit without the approval of the
  probation office so long as there is a balance on the Court-imposed financial obligation.

  9. The defendant shall apply all monies received from any anticipated and/or unexpected financial gains, including any income tax
  refunds, inheritances, or judgments, to the outstanding Court-ordered financial obligation. The defendant shall immediately notify the
  probation office of the receipt of any indicated monies.

  10. The defendant shall submit his person, residence, office, or vehicle to a search conducted by the probation office based upon
  reasonable suspicion of contraband or evidence of a violation of a condition of release. The defendant shall warn any other residents that
  the premises may be subject to searches pursuant to this condition.
AO 245B (Rev. 09/12)   Judgment in Criminal Case     Sheet 5 - Criminal Monetary Penalties

                                                                                                                            Judgment-Page   5     of   _8__
 DEFENDANT: ANDREW MABERRY
 CASE NUMBER: 4:13CR381 CDP
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 District: Eastern District of Missouri
                                                   CRIMINAL MONETARY PENALTIES
 The defendant must pay the total criminal monetary penalties under the schedule of payments on sheet 6
                                                  Assessment                             Fine                                       Restitution

               Totals:                                    $100.00                                                                 $31,219.00

        The determination of restitution is deferred until
 D      will be entered after such a determination.
                                                                                              An Amended Judgment in a Criminal Case (AO 245C)



  D     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified
 otherwise in the priority order or percentage payment column below. However, pursuant ot 18 U.S.C. 3664(i), all nonfederal
 victims must be paid before the United States is paid.

Name of Payee                                                                                Total Loss*        Restitution Ordered Priority or Percentage

 Scott Credit Union                                                                                            $1,065.00

     101 Credit Union Way, P.O. Box 70, Edwardsville, IL 62025

 US Bank - Case No. 2013006894                                                                                 $761.00

    Corporate Security Payments, P.O. Box 650, Milwaukee, WI 53278-0650

 First Community Bank                                                                                          $2,871.00

     1602 N. Kingshighway, Cape Girardeau, MO 63701

 Harford Bank                                                                                                  $1,188.00

     505 S. Main Street, Bel Air, MD 21014

 SUBTOTAL FROM PAGE TWO                                                                                        $25,334.00

                                                                                                                  $31,219.00


D     Restitution amount ordered pursuant to plea agreement




D The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
  before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ~    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         ~ The interest requirement is waived for the.                     D      fine                181   restitution.
         D      The interest requirement for the     D     fine      D     restitution is modified as follows:




   * Findings for the total amount of losses are required under Chapters I 09 A, 110, 11 OA, and l l 3A of Title 18 for offenses
 committed on or after September 13, 1994 but before April 23, 1996.
AO 2458 (Rev. 09/12)   Judgment in Criminal Case   Sheet SB - Criminal Monetary Penalties

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 DEFENDANT: ANDREW MABERRY
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  District:     Eastern District of Missouri

                                                   ADDITIONAL RESTITUTION PAYEES

                                                                                                                                     Priority or
 Name of Payee                                                                          Total Loss   Restitution Ordered             Percentage

TD Bank Global Security                                                                              $5,868.00
   900 Atrium Way, Mt. Laurel, NJ 08054
Commerce Bank                                                                                        $2,258.00
   956 Jeffco Blvd., Arnold, MO 63010
Wells Fargo Bank                                                                                     $2,000.00

   615 Bel Air Road, Bel Air, MD 21014
Susquehanna Bank                                                                                     $1,447.00

   19 East Main Street, Lititz, PA 17543
Bank of Jackson                                                                                      $10,500.00

   420 Oil Well Road, Jackson, TN 38305
Huntington Bank                                                                                      $3,261.00

   4149 St. Rt., Hurricane, WV 25526




     * Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses
   committed on or after September 13, 1994 but before April 23, 1996.
AO 2458 (Rev. 09/12)   Judgment in Criminal Case   Sheet 5A - Cnm1nal Monetary Penalties

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   DEFENDANT: ANDREW MABERRY
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   District:     Eastern District of Missouri

                       ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 Payments ofrestitution shall be made to the Clerk of the Court for transfer to the victims. The interest requirement for the restitution is
 waived.

 All criminal monetary penalties are due in full immediately. The defendant shall pay all criminal monetary penalties through the Clerk of
 Court. lfthe defendant cannot pay in full immediately, then the defendant shall make payments under the following minimum payment
 schedule: During incarceration, it is recommended that the defendant pay criminal monetary penalties through an installment plan in
 accordance with the Bureau of Prisons' Inmate Financial Responsibility Program at the rate of 50% of the funds available to the defendant.
 If the defendant owes any criminal monetary penalties when released from incarceration, then the defendant shall make payments in
 monthly installments of at least $100 or no less than I 0% of the defendant's gross earnings, whichever is greater, with payments to
 commence no later than 30 days after release from imprisonment. Until all criminal monetary penalties are paid in full, the defendant shall
 notify the Court and this district's United States Attorney's Office, Financial Litigation Unit, of any material changes in the defendant's
 economic circumstances that might affect the defendant's ability to pay criminal monetary penalties. The defendant shall notify this
 district's United States Attorney's Office, Financial Litigation Unit, of any change of mailing or residence address that occurs while any
 portion of the criminal monetary penalties remains unpaid.
AO 24SB (Rev. 09/12)     Judgment in Criminal Case     Sheet 6 - Schedule of Payments

                                                                                                                          Judgment-Page    _8_     of   _8__
  DEFENDANT: ANDREW MABERRY
  CASE NUMBER: 4:13CR381 CDP
  District:
                           --------------
                    Eastern District of Missouri
                                                            SCHEDULE OF PAYMENTS
          Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

     A    181    Lump sum payment of         $31,319.00            due immediately, balance due

                                     D     not later than                               , or

                                     181   in accordance with   D    C,   D   D, or       181   E below; or   181 F below; or
  BD            Payment to begin immediately (may be combined with                 D    C,      D     D, or    D E below; or D       F below; or
  CD            Payment in equal                     (e.g., equal, weekly, monthly, quarterly) installments of                         over a period of
                                   e.g., months or years), to commence                           (e.g., 30 or 60 days) after the date of this judgment; or
               -------
  D      D     Payment in equal                    (e.g., equal, weekly, monthly, quarterly) installments of                       over a period of
                                   e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
 E    181       Payment during the term of supervised release will commence within 30                  (e.g., 30 or 60 days) after Release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or
  F      181     Special instructions regarding the payment of criminal monetary penalties:
IT IS FURTHER ORDERED that the defendant shall pay to the United States a special assessment of$l00, which shall be due immediately. See pages 4, 5 and 6
for further information on payment of criminal monetary penalties.

   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
   during the period of imprisonment. All criminal monetary penalty payments, except those payments made through the Bureau of Prisons'
   Inmate Financial Responsibility Program are made to the clerk of the court.

   The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.




  D            Joint and Several
                 Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
                 and corresponding payee, if appropriate.




  D            The defendant shall pay the cost of prosecution.

  O            The defendant shall pay the following court cost(s):




  O         The defendant shall forfeit the defendant's interest in the following property to the United States:




  Payments shall be applied in the following order: (1 ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5)fine interest (6) community restitution.(7) penalties, and (8) costs, including cost of prosecution and court costs.
                                                          DEFENDANT: ANDREW MABERRY
                                                          CASE NUMBER: 4:13CR381 CDP
                                                                         -~~~~~~~~~~




                                                           USM Number:   40889-044
                                                                         ------------
                               UNITED STATES MARSHAL
                        RETURN OF JUDGMENT IN A CRIMINAL CASE

I have executed this judgment as follows:




The Defendant was delivered on _ _ _ _ _ _ _ _ t o - - - - - - - - - - - - - - - - - -

a t - - - - - - - - - - - - - - - - - - - • with a certified copy of this judgment.



                                                          UNITED ST ATES MARSHAL


                                                    By
                                                             Deputy U.S. Marshal




D      The Defendant was released on _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ Probation

D      The Defendant was released on _ _ _ _ _ _ _ to_ _ _ _ _ _ _ _ Supervised Release

D      and a Fine of_ _ _ _ _ _ _ _         D   and Restitution in the amount of_ _ _ _ _ _ __



                                                          UNITED ST ATES MARSHAL


                                                     By
                                                              Deputy U.S. Marshal


I certify and Return that on _ _ _ _ _ _ , I took custody of - - - - - - - - - - - - - -

at
     ----------- and delivered same t o - - - - - - - - - - - - - - - - -
on _ _ _ _ _ _ _ _ _ _ _ _ _ _ F.F.T. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                          U.S. MARSHAL E/MO


                                                       By DUSM - - - - - - - -
